         Case 3:18-cv-00220-ARS Document 48 Filed 07/30/20 Page 1 of 1

                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 19-3503

                                      Daniel Cvijanovich

                                                    Appellant

                                               v.

                                  United States Secret Service

                                                    Appellee

______________________________________________________________________________

          Appeal from U.S. District Court for the District of North Dakota - Fargo
                                  (3:18-cv-00220-ARS)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of 05/29/2020, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                     July 30, 2020




Clerk, U.S. Court of Appeals, Eighth Circuit




   Appellate Case: 19-3503        Page: 1      Date Filed: 07/30/2020 Entry ID: 4939826
